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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                    IN THE UNITED STATES DISTRICT COURT                  February 25, 2016
                     FOR THE SOUTHERN DISTRICT OF TEXAS                  David J. Bradley, Clerk
                              HOUSTON DIVISION




UNITED STATES OF AMERICA,               §
                                        §
                    Plaintiff,          §
                                        §           CRIMINAL NUMBER H-10-814-2
v.                                      §           CIVIL ACTION NO. H-15-3157
                                        §
CHRISTOPHER PURSER,                     §
                                        §
                   Defendant.           §




                        MEMORANDUM OPINION AND ORDER



       Defendant,    Christopher Purser,       has filed a Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence By a Person

in Federal Custody (Docket Entry No. 376) . 1              The United States has

filed a Response and Motion for Summary Judgment                    (Docket Entry

No.    384) ,   to which   Purser has       filed    a   Traverse   in Opposition

(Docket Entry No.        388) .   For the reasons explained below,                  the

government's motion will be granted.

        Purser claims that his trial counsel was ineffective in not

objecting to the court's breach of              the plea agreement and the

court's failure to consider the sentencing factors set forth in 18

U.S.C. § 3553(a); and that the court erred in failing to consider

the§ 3553(a) factors at sentencing.                 Purser also argues that his



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           All docket entry references are to Criminal No. H-10-814.
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trial counsel was ineffective because he failed to seek leave to

withdraw Purser's guilty plea because of the government's breach of

the plea agreement.

        In fact,    Purser's trial counsel did argue to the court that

the government had breached the plea agreement, and when the court

rejected this argument his counsel appealed the court's ruling to

the United States Court of Appeals for the Fifth Circuit.                         The

Fifth Circuit affirmed this court's judgment.                 The court held that

although the government initially breached the plea agreement, the

breach was cured when the government withdrew its objection that a

6-level increase in Purser's offense level should have been applied

under USSG    §    2B1.1{b) (2) (C), and acknowledged that under the plea

agreement    only     a    4-level    increase    under   §   2B1.1{b) (2) (B)    was

appropriate.        United States v.          Purser,   747   F.3d 284   (5th Cir.

2014), cert. denied, 135 S. Ct. 403 (2015).

        In light of the Fifth Circuit's holding and the fact that this

court    applied     the   4 -level   enhancement       instead   of   the   6 -level

enhancement,       there was no basis for moving to withdraw Purser's

plea.    Therefore, Purser's counsel was not deficient in failing to

move to withdraw Purser's plea, nor has Purser been prejudiced by

his counsel's       failure    to make    such a motion.          Although Purser

submitted an Affidavit with his           §   2255 motion stating that "on the

date in question I vigorously conveyed to defense counsel,                       Seth

Kretzer,    that I    wanted to withdraw my plea after the government


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breached the plea agreement" (Affidavit of Petitioner, Attachment 2

to    §     2255   Motion,    Docket     Entry No.    376-2),    the   transcript    of

Purser's sentencing belies the statement in his Affidavit.                       When

given an opportunity to address the court at sentencing, Purser had

no objections to the Presentence Report after the court ruled on the

objections         filed     by   his   counsel    (Transcript   of    Proceedings

Sentencing, Docket Entry No. 259, p. 4 lines 13-16), and Purser said

nothing about withdrawing his plea or asserting his innocence when

the court gave him an opportunity to allocute, id. at p. 15 line 25

- p. 16 line 18.           At this late date -- and in light of the prejudice

to the government and the waste of judicial resources that would

result from allowing Purser to withdraw his guilty plea, and absent

any reasonable basis for withdrawing his guilty plea -- the court

concludes that Purser is not entitled to withdraw his plea.                         See

United States v. Carr, 740 F.2d 339, 343 (5th Cir. 1984).

           Purser's arguments concerning the court's failure to consider

the    §    3553(a)     factors are contradicted by the record.              Purser's

counsel filed Defendant Purser's Motion for Downward Variance Under

18 USC 3553        §§   (a) (1) and (6)    (Docket Entry No. 212), to which the

government         responded      (Response   to     Purser   Motion   for   Downward

Variance, Docket Entry No. 215).              At Purser's sentencing the court

stated that it had read the motion and the government's response

and was "persuaded that the facts of his case do not justify a

variance.          The guidelines adequately address all of the statutory


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sentencing factors."         (Transcript of       Proceedings -    Sentencing,

Docket Entry No.     259,    p.   15 lines 19-24)         Since the court did

consider the§ 3553(a) factors, his trial counsel was not deficient

in failing to object to the court's failure to consider them, nor

was Purser prejudiced.

     The    court   has    considered      all   of   Purser's   arguments   and

concludes    that   none    of    them    have   merit.     Accordingly,     the

government's Motion for Summary Judgment (Docket Entry No. 384) is

GRANTED.

     SIGNED at Houston, Texas, on this 25th day of February, 2016.




                                                           SIM LAKE
                                                 UNITED STATES DISTRICT JUDGE




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